 1     Michael J. Gearin, WSBA # 20982                           Honorable Timothy W. Dore
       Brian T. Peterson, WSBA # 42088                           Chapter 7
 2     Ruby A. Nagamine, WSBA #55620                             Hearing Location: Seattle, Rm. 8106
       K&L GATES LLP                                             SUBJECT TO COURT APPROVAL:
 3     925 Fourth Avenue, Suite 2900                             Hearing Date: March 8, 2024
       Seattle, WA 98104-1158                                    Hearing Time: 9:30 a.m.
 4     (206) 623-7580                                            Response Date: March 6, 2024
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 7
                                         UNITED STATES BANKRUPTCY COURT
 8                                       WESTERN DISTRICT OF WASHINGTON
                                                    AT SEATTLE
 9
       In re:                                                  Case No. 23-10117-TWD
10
       WIRELESS ADVOCATES, LLC                                 NOTICE OF HEARING ON
11                                                             APPLICATION FOR ORDER
                                               Debtor.         AUTHORIZING EMPLOYMENT OF
12                                                             TIGER VALUATION SERVICES, INC.
                                                               AS PROFESSIONALS FOR TRUSTEE
13
       TO:            WIRELESS ADVOCATES, LLC, LLC, Debtor;
14     AND TO:        UNITED STATES TRUSTEE;
       AND TO:        SPECIAL NOTICE LIST;
15     AND TO:        PARTIES ENTITLED TO NOTICE UNDER CASE MANAGEMENT ORDER
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                SUBJECT TO ENTRY OF ORDER SHORTENING TIME
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               PLEASE TAKE NOTICE that a hearing has been scheduled on March 8, 2024 at 9:30 a.m. (PT)
18     before the Honorable Timothy W. Dore, United States Bankruptcy Judge, in Courtroom 8106, 700 Stewart
       Street, Seattle, WA, 98101 on the Application for Order Authorizing Employment of Tiger Valuation
19     Services, Inc., as Professionals for the Trustee (the “Application”).

20             By the Application, the Trustee respectfully requests the entry of an order granting the Trustee’s
       application for order of employment of Tiger Valuation Services, Inc., as professionals for the Trustee to
21     provide inventory appraisal services as may be requested by the Trustee.

22              PLEASE TAKE FURTHER NOTICE that copies of the Application and related documents may be
       (1) reviewed and copied at the Clerk of the United States Bankruptcy Court, 700 Stewart Street, Seattle, WA
23     98101 or (2) may be obtained by submitting a written request to Ms. Denise Lentz, Paralegal, K&L Gates,
       LLP, 925 Fourth Avenue, Suite 2900, Seattle, WA 98104-1158, Email: denise.lentz@klgates.com.
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               PLEASE TAKE FURTHER NOTICE THAT IF YOU OPPOSE the Motion, you must file your
25     written objection NO LATER THAN 5:00 pm PT on Wednesday, March 6, 2024. Objections must be filed
       with the Court, 700 Stewart Street, Seattle, WA, 98101, and a copy delivered to:
26
       NOTICE OF HEARING ON APPLICATION
       FOR ORDER AUTHORIZING
       EMPLOYMENT OF TIGER VALUATION SERVICES, INC.                                         K&L GATES LLP
       AS PROFESSIONALS FOR THE TRUSTEE - 1                                           925 FOURTH AVENUE, SUITE 2900
                                                                                     SEATTLE, WASHINGTON 98104-1158
                                                                                         TELEPHONE: (206) 623-7580
                                                                                          FACSIMILE: (206) 623-7022

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 1
                               Michael Gearin
 2                             K&L Gates, LLP
                               925 Fourth Avenue, Suite 2900
 3                             Seattle, Washington 90104

 4              PLEASE TAKE FURTHER NOTICE that in accordance with Local Bankruptcy Rule 9013-1(d)(7),
       failure to timely file and serve an objection to the Application may be deemed by the Court an admission that
 5     any opposition to the Application is without merit. Further, pursuant to Local Bankruptcy Rule 9013-1(e),
       failure to appear at the hearing on the Application may be deemed by the Court to be an admission that any
 6     opposition to the Application is without merit. Further, pursuant to Local Bankruptcy Rule 9013-1(f), if no
       opposition to the Application is timely filed and served, the Court may either (a) grant the Application by
 7     default at the hearing, or (2) grant the Application prior to the hearing on the Trustee’s ex parte presentation
       of a proposed order accompanied by proof of service and a declaration that no objection to the Application
 8     was timely received.

 9     DATED this 1st day of March, 2024.
                                                                 K&L GATES LLP
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11                                                               /s/ Michael J. Gearin
                                                                 Michael J. Gearin, WSBA # 20982
12                                                               Brian T. Peterson, WSBA # 42088
                                                                 Ruby A. Nagamine, WSBA #55620
13                                                               K&L GATES LLP
                                                                 925 Fourth Avenue, Suite 2900
14                                                               Seattle, WA 98104-1158
                                                                 Telephone: (206) 623-7580
15                                                               Email: michael.gearin@klgates.com
                                                                         brian.peterson@klgates.com
16                                                                       ruby.nagamine@klgates.com
17                                                               Attorneys for Virginia Burdette, Chapter 7
                                                                 Trustee
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       NOTICE OF HEARING ON APPLICATION
       FOR ORDER AUTHORIZING
       EMPLOYMENT OF TIGER VALUATION SERVICES, INC.                                             K&L GATES LLP
       AS PROFESSIONALS FOR THE TRUSTEE - 2                                               925 FOURTH AVENUE, SUITE 2900
                                                                                         SEATTLE, WASHINGTON 98104-1158
                                                                                             TELEPHONE: (206) 623-7580
                                                                                              FACSIMILE: (206) 623-7022

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 1                                      CERTIFICATE OF SERVICE

 2            The undersigned declares as follows:

 3             That she is a paralegal in the law firm of K&L Gates LLP, and on March 1, 2024, she caused
       the foregoing document to be filed electronically through the CM/ECF system which caused
 4     Registered Participants to be served by electronic means, as fully reflected on the Notice of
       Electronic Filing.
 5
               I declare under penalty of perjury under the laws of the State of Washington and the United
 6     States that the foregoing is true and correct.

 7            Executed on the 1st day of March, 2024 at Seattle, Washington.

 8
                                                           /s/ Denise A. Lentz
 9                                                         Denise A. Lentz

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       NOTICE OF HEARING ON APPLICATION
       FOR ORDER AUTHORIZING
       EMPLOYMENT OF TIGER VALUATION SERVICES, INC.                                     K&L GATES LLP
       AS PROFESSIONALS FOR THE TRUSTEE - 3                                       925 FOURTH AVENUE, SUITE 2900
                                                                                 SEATTLE, WASHINGTON 98104-1158
                                                                                     TELEPHONE: (206) 623-7580
                                                                                      FACSIMILE: (206) 623-7022

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